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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION
   JUAN LOZADA-LEONI,                                 §
                                                      §
                  Plaintiff,                          §
                                                      §
   v.                                                 § Civil Action No. 4:20-cv-00068--RWS-CMC
                                                      §
   MONEYGRAM INTERNATIONAL, INC. and                  §
   MONEYGRAM PAYMENT SYSTEMS, INC.,                   §
                                                      §
                  Defendants.                         §

                         DEFENDANTS’ DEPOSITION DESIGNATIONS

   TO:    Plaintiff, by and through counsel of record, Susan E. Hutchison and S. Rafe Foreman,
          Hutchison & Stoy, PLLC, 505 Pecan Street, Suite 101, Fort Worth, Texas 76102, and 1312
          Texas Avenue #101, Lubbock, Texas 79401.

          Defendants submit their Deposition Designations as follows. Defendants contend that these

   designations fall into the category of “rebuttal” designations, but make them now out of an

   abundance of caution. Defendants also reserve the right to use any or all portions of the deposition

   testimony designated by Plaintiff. Defendants, and to provide (additional) rebuttal designations

   and objections.

          Deposition Designations of John Tyson
          Deposition Date: October 10, 2018
          Pages: 5:10-11; 7:13 – 9:16; 24:25 – 25:10; 25:12; 26:2-6; 29:6-16; 30:16-19; 31:3-12:
          31:21 – 32:15; 34:2-20; 34:23 – 36:11; 36:14 – 37:4; 37:7-16; 69:5-18; 71:17 – 73:14;
          75:25 – 80:21; 81:10 – 82:3.

          Deposition Designations of Dana Johnson
          Deposition Date: June 30, 2020
          Pages: 6:10-12; 7:8 – 9:3; 10:8 – 11:9; 13:12-19; 15:2-16; 16:17 – 17:1; 22:21 – 23:21;
          26:23 – 27:16; 32:7 – 33:3; 40:25 – 41:2; 41:14 – 42:10; 63:9-24; 70:9-12; 70:14 – 71:10;
          120:14-15; 120:17 – 121:3; 121:5 – 122:11; 123:2-15; 123:17 – 124:19; 124:21 – 125:2;
          125:4-21; 135:14 – 137:2; 142:21-25; 143:2-9; 151:19 – 152:5; 152:8-11; 152:14-16;
          152:18; 154:9-15; 154:21 – 155:15; 155:23 – 156:12; 156:19-25; 157:3-12; 157:15-20;
          158:5-14; 158:23 – 160:9.




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         Deposition Designations of Juan Manuel Gonzalez
         Deposition Date: January 22, 2020
         Pages: 5:1 – 92:5

         Deposition Date: January 23, 2020
         Pages: 142:2 – 147:25

         Deposition Designations of Derya White
         Deposition Date: July 10, 2020
         Pages: 290:1 – 291:1




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                                              Respectfully submitted,


                                              By:      /s/ John M. Barcus
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                                              Dallas, Texas 75225
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                                              ATTORNEYS FOR DEFENDANTS



                                  CERTIFICATE OF SERVICE

           I hereby certify that on September 18, 2020, the foregoing document was served via email
   on all counsel of record.


                                                /s/ John M. Barcus
                                               JOHN M. BARCUS


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